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        24THJUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                     STATE OF'LOUISIANA

NO.    s;L?-t,8D                                                                        DTVISION ''

                          BOII{IIIE IIOLMES A¡ID AMOS CARTER

                                                  vs.
                MOHAVE TRANSPORTATION INSURANCE COMpA¡t-y,
                   AMEN TRTICKING LLC, BII\IAM TEWELDE ANI)
                    STATE FARM F'IRE AND CASUALTY COMPAIYY
                (in its capacity as uninsured/underinsured motorist carrier)

FILED
                                                                        DEPUTY CLERK

                                  PETITION FOR DAMAGES

        The Petition of BOhINIE HOLMES ANP AMOS CARTER, persons of the tull age                                   of
majority and residents of the Parish of Jefferson, State of Louisiana" respectfullyrepreselrt:

                                                   I.

        Made defendants herein are:

        MOHAVE TRANSPORTATION INSURANCE COMPAI¡"Y, a foreign insurance

company authorized to do and doing business in the state of Louisiana;

       AMEN TRUCKING LLC, a foreign company authorized to do and doing business in

the State of Louisiana;

       BINIAM TEWELDE,           a person    of the full age of majority and    a resident           of the County

of Fort Bend, State of Texas; and

       STATE FARM FIRE               AllD      CASUALTY COMPANIY                     (in íts          capacity   as

uninsured/underinsured motorist carrier), a foreign insurance company authorized to do and

doing business in ttre State of Louisiana.

                                                   It
       Defendants herein are   jointly   and in scilido liable and indebted unto Petitioners               for such

damages as are reasonable in the premises, including past and futtne physical pain and                    suffering

past and future mental pain and suffering past and future loss of enjo5iment of life, disability to

the body, past and futtne medical expenses, loss of past and futtre eamings, loss of futtre

earning capaøty, and loss of consortium, together with legal interest thereon from date of


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judicial demand until paid, and for all costs of these proceedings, for the following to-wit:

                                                  n.
        On or about October 22r2021, an accident occurred on Indiana Avenue in the Parish         of
Jefferson, State of Louisianq wherein the vehicie owned by AMEN TRUCKING                  LLC    and

operated by   BII\IIAM TEIVELDE disregarded a traffic conhol, thereby shiking powerlines         and

causing a powerline pole to collide with the vehicle operated by BOIIINIE HOLMES, in which

AMOS CARTERw¿ß             a guestpassenger,

                                                  TV.

       The sole and proximate cause of the above-referenced accident was the negligence and

fault of the defendant, BINIAM        TEMLDE, which is attributed to, but not limited to, the
following non-exclusive particulars:

           a) Disregarding ahaffic conhol;
           b)   Careless operation;

           c) Failure to see what he should have see,n;
           d) Failure     to keep a good and careful lookout;

           e) Operating his vehicle in a careless and reckless m¿ìnner without        regard for the

                safety of others;

           Ð Failure to maintain reasonable and proper controi of the vehicle which he was
                operating;

           g) Failure to follow the customary rules of the road of the State of Louisiana, which
                rules are specificallypled herein as though copied ìn utenso; and

           h) Any and all other acts of negligence which may be proven at the trial of this
                matter.

                                                  V.

       As a result of the subject accident and negligence of the above-referenced defendant,

BINIAM TEWELDE, Petitioners, BONNIE HOLMES AI\D AMOS CARTER, were injured

and are entitled to recover such darnages as are reasonable in the premises.




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                                                  VI.

       Upon information and belief, it is alleged that at all times material hereto, that BIIr{IAM

TEWELDE was in the course and scope of his employnent with and/or on a mission and/or

errand for AMEN TRUCKING             LLC on the date of this acciden! thus rendering said defendant,

AMEN TRUCKING LLC, vicariously liable unto Petitioners with the other narned defendants.'

                                                  vII.
       Upon information and belief, it is alleged that at all times material hereto, including but

not limited to the date of the subject accident defendant, MOHAVE TRA¡ISPORTATION

INSURANCE COMPAI{Y, provided a policy of automobile liability insr¡rance on the vehicle

owned by AMEN TRUCKING                LLC   and operated by   BINIAM TEWELDE, and said policy

provided coverage for the type         of   loss sued upon herein, thus rendering the defendant,

MOHA\rE TRANSPORTATION INSIIRANCE COMPANY, liable unto Petitioners with the

other named defendants.

                                                  VIII.

       Upon information and belief, defendants, AMEN TRUCKING                  LLC    and BIIIIIAM

TEIVELDE, are underinsured to fully compensate Petitioners for their damages. At all relevant

times, STATE FARM FIRE AND CASUALTY COMPA¡IY provided                                  a policy of
uninsured/underinsured motorist coverage on the vehicle operated by BOIIINIE HOLMES on

the date of this accident, and said policy provided coverage for the type of loss zued upon herein"

thus rendering the defendant, STATE FARM F'IRE AND CASUALTY COMPAhIY (in its

capacity as uninsured/underinsured motorist carrier), liable unto Petitioners with the other

named defendants.




       WHEREFORE, Petitioners pray that defendants be duly cited and served with          a copy   of

this Petition and, after all due proceedings are had, there be a judgment rendered herein in favor

of Petitioners and against the defendants, MOHAVE TRANSPORTATION INSURANCE

COMPAI\¡-Y, AMEN TRUCKING LLC, BINIAM TEWELDE AND STATE FARM FIRE

AND CASUALTY COMPA¡IY (in its capacity as uninsured./underinsured motorist
carrier), jointly   and   in solido in amounts as are reasonable in the premises, including past and

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     futu¡e physical pain and suffering, past and future mental pain and suffering, past and future loss

     of er{oyment of life, disabilþ to the body, past and future medical       expenses, loss   of past and

     futme eamings, loss of future earning capacity, and loss of consortium, together with legal

     interest thereon from date ofjudicial demand until paid, and for all costs of these proceedings.

             Petitioners further pray for all general and equitable relief as the Court deems fit.

                                                    Respectfully submitted,

                                                    LAIV OF'FTCES OF                    J. WOMAC, JR.
                                                    & ASSOCTATES,



                                                    EDTVARD J.                 JR. #0219s
                                                    JONATHAN R.                     #31854
                                                    3501 Canal Steet
                                                    New Orleans,LA7011,9
                                                    Telephone No. (50a) 486-9999
                                                    Facsimile No. (50a) 488-41 78
                                                    jmarlow e@edwardwomac. com



     PLEASE SERVE:

     MOHAVE TRANSPORTATION INSTIRANCE COMPAI{Y
     Via the Louisíana Long-Arm Statute:
     Through Its Registered Agent for Service of Process:
     National Registered Agents
     3800 North Central Avenue
     Suite 460
                                                               EYVao $ 40.4+
     Phoenix, Arizona 85012                                             *zzqg\lL
     AMEN TRUCKINGLLC
                                                                   SDS Þ 5¡.u¡ tFz
                                                                                                     zq?rrgl
     Via the Louisiana Long-Arm Statute:
     Through Its Registered Agent for Service of Process:
     Service of Process
     Secretary of State
     P.O. Box 12079
     Austin, Texas 7 87 1, 1, -207 9

     BINIAM TEWELDE
     Viathe Louisiana Long-Arm Statute:
     20i18 Larkspur Landing
     Richmond, Texas 774A7

     STATE FARM F'IRE A¡ID CASUALTY COMPAI{Y
     (in its capacity as uninsured/underinsured motorist carrier)
     Through Its Registered Agent for Service of Process:
     Louisiana Secretary of State
     8585 Archives Avenue
     Baton Rouge, Louisiana 70809




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